

Matter of English (2020 NY Slip Op 05567)





Matter of English


2020 NY Slip Op 05567


Decided on October 8, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 8, 2020

PM-130-20

[*1]In the Matter of William D. English, an Attorney. (Attorney Registration No. 3062239.)

Calendar Date: September 30, 2020

Before: Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ.


William D. English, Anchorage, Alaska, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
William D. English was admitted to practice by this Court in 2000 and lists a business address in Anchorage, Alaska with the Office of Court Administration. English now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department advises that it defers to this Court's discretion on English's application.
Upon reading English's affidavit sworn to July 8, 2020 and filed July 14, 2020, and upon reading the September 30, 2020 correspondence in response by the Chief Attorney for the Committee, and having determined that English is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that William D. English's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that William D. English's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that William D. English is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and English is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that William D. English shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








